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IN THE UNITED STATES DISTRICT COU]
FOR THE NORTHERN DISTRICT OF TEXi
DALLAS DIVISION

 

 

UNITED STATES OF AMERICA

§ NO. 3~1 8¢!§§?- 40 9 -'n\

DWAINE CARAWAY (Related to Case Nos. 3:17-CR-678-M &
3:18-CR-1 69-N)

INFORMATION

The United States Attorney Charges:
Introduction

l. From in or around 2011 to in or around 2017, Robert Carl Leonard, Jr., the
president of Force Multiplier Solutions (FXS), a technology company that put cameras on
school buses, paid, among others, Dwaine Caraway, a Dallas City Council Member for
much of the relevant time period and the current Mayor Pro Tem of Dallas, over
$450,000 in bribe and kickback payments/benefits in exchange for favorable official
action, or the promise of favorable official action, related to FXS’s stop-arm-camera
program With Dallas County Schools (DCS) and Leonard’s efforts to develop and profit
from low income housing.
2. To disguise the bribe and kickback payments that Caraway and others received,
Leonard f`unneled a significant portion of the illicit payments through various pass-

through companies created and operated by his business associate, Slater Washbum

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Swartwood, Sr.

3. To further mask the illegal purpose of the payments that Caraway received
through Swartwood, particularly through ELF Investments, the coconspirators attempted
to characterize the payments as consulting fees. Later, Leonard and Swartwood
attempted to recast a significant portion of those “fees” as a loan pursuant to a promissory
note that Caraway signed but never intended to repay.

4. Leonard also provided Caraway bribe and kickback payments in the form of
checks which Caraway cashed at liquor stores or pawn shops, luxury suits, fully funded
trips to New Orleans, Louisiana, Austin, Texas, and Las Vegas, Nevada, security cameras
for Caraway’s home, a “loan” for Caraway’s father’s home, funeral expenses for
Caraway’s family members, a campaign bus, casino chips, and gambling money for the ~
horse track.

5. In addition, Caraway failed to report for income tax purposes a substantial portion
of the bribe and kickback payments that he received from Leonard, and offset much of
the income that he did report via phony business expenses.

6. Specifically, on his 2014 tax returns, Caraway failed to report $97,000 that he
received directly or indirectly from Leonard, primarily under the auspice of “consulting”
fees paid to a company which Caraway owned and controlled.

7. Caraway knowingly and willfully failed to disclose the $97,000 in income from

Leonard to his tax preparer.

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8. Caraway filed a false and fraudulent tax return for tax year 2014 by omitting the
$97,000 in payments that he received directly or indirectly from Leonard during 2014.
9. y ln total, Leonard paid approximately $3.5 million in bribe and kickback payments
to Dallas area officials, including Caraway, to help secure over $70 million in contracts,
agreements, orders, and other beneficial treatment for FXS, all of which the
coconspirators concealed from DCS, its board, the Dallas City Council, and the citizens
of the school districts in which DCS operated school buses and provided other services,
and the citizens of the City of Dallas.
10. DCS, for its part, was left virtually bankrupt by the agreements it entered into with
FXS and was ultimately abolished by voters in November 2017.

Dutv of Honest Services
11. Caraway served as a Council Member on the Dallas City Council from before the
beginning of the conspiracy until June 2015, and upon reelection thereafter in May 2017
to the present.
12. Caraway was a public servant as a result of being a Council Member. Caraway
owed a duty of honest services to the citizens of the City of Dallas to perform the duties
and responsibilities of public office free from bias, conflicts of interest, self-enrichment,
self-dealing, concealment, deceit, fraud, kickbacks, and bribery.

13. The citizens of the City of Dallas expected, and were entitled to receive,

Caraway’s honest services in the fulfillment of the Council Member’s duties. lt was a

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violation of Caraway’s duty, and the citizens of the City of Dallas’ rights to the Council
Member’s honest services, for Caraway to accept bribe and kickback payments from

Leonard in exchange for favorable official action or the promise of favorable official

action.

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M
Conspiracy to Commit Honest Services Wire Fraud
[Violation of 18 U.S.C. § 371]
14. All preceding paragraphs of this Information are realleged and incorporated by
reference as if set forth fully herein.
15. From in or around 2011 to in or around 2017, in the Dallas Division of the
Northem District of Texas and elsewhere, the defendant, Dwaine Caraway, Leonard,
Swartwood, Ricky Dale Sorrels, and others known and unknown, unlawfully, willfully,
and knowingly did combine, conspire, confederate and agree together and with each other
to violate Title 18, United States Code, Sections 1343 and 1346.
16. lt was a part and object of the conspiracy that Caraway, Leonard, Swartwood,
Sorrels, and others known and unknown, willfully and knowingly, having devised and
intending to devise a scheme and artifice to defraud, and to deprive DCS, the school
districts it serviced and their citizens thereof, the Dallas City Council, and the citizens of
the City of` Dallas of their intangible right to Caraway’S and Sorrells’ honest services as
public servants, would and did transmit and cause to be transmitted by means of wire
communication in interstate and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice, in violation of Title 18,
United States Code, Sections 1343 and 1346, to wit, Leonard paid bribe and kickback

payments to Caraway and Sorrells in exchange for favorable official action, or the

promise of favorable official action, and in connection therewith and'in furtherance

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thereof, the coconspirators transmitted and caused to be transmitted interstate electronic
wire transfers of funds.
Manner and Means of the Honest Services Fraud ConspiracV

BRIBE AND IQCKBACK PAYMENTS TO CARAWAY

17. During the honest services fraud conspiracy, Leonard paid, and Caraway
accepted, over $450,000 in bribes and kickbacks, in addition to directly or indirectly
contributing over $40,000 to Caraway’s political campaigns

18. In addition to money, Leonard solicited Caraway’s official actions and influence
with bribes and kickbacks in the form of, among other things of value, checks which
Caraway cashed at liquor stores or pawn shops, luxury suits, fully funded trips to New
Orleans, Louisiana, Austin, Texas, and Las Vegas, Nevada, security cameras for
Caraway’s home, a “loan” for Caraway’s father’s home, funeral expenses for
Caraway’s family members, a campaign bus, casino chips, and gambling money for the
horse track.

19. Caraway, in his capacity as a City Council Member, took official action favorable
to Leonard and FXS, including, but not limited to, Voting on ordinances and
authorizations in a way that forwarded FXS’s business interests, pressuring the Dallas
City Attorney’s Office to provide a favorable opinion about the propriety of fines
associated with FXS’s stop-arm-camera program, and promising to use the Council

Member’s official position if and when necessary to forward Leonard’s efforts to develop

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low income housing.

CONCEALMENT OF THE BRIBE AND KICKBACK PAYl\/IEN'I`S

20. As part of the conspiracy, the coconspirators undertook significant efforts to
disguise and conceal the source and purpose of the bribe and kickback payments to
Caraway and others.

21. Leonard generally did not pay Caraway and others directly. Instead, Leonard
caused bribe and kickback payments to be transferred to pass-through entities controlled
by Swartwood, including Elf lnvestments, after which Swartwood, at Leonard’s
direction, would pay Caraway and others, or shell companies that they controlled.

22. Caraway received approximately $390,000 in bribe and kickback payments
laundered through Swartwood’s companies.

23. As part of the conspiracy, and as a further act of concealment, Caraway and
others opened shell companies so it did not appear that they were directly receiving
payments.

24. The coconspirators, in an attempt to grant the bribe and kickback payments an air
of legitimacy, created sham consulting agreements

25. As a further act of concealment, the coconspirators, at some point in the
conspiracy, attempted to recharacterize past “consulting” payments to Caraway and
others as a “loan,” and executed fake loan documents to that end.

26. When Leonard made bribe and kickback payments directly to Caraway, Caraway

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would often cash the checks at a liquor store or pawn shop to conceal the payments.
Overt Acts
27. In furtherance of the conspiracy and to effect the illegal objects thereof, the
following overt acts, among others, were committed in the Dallas Division of the
Northern District of Texas and elsewhere:
a. On or about May 16, 2014, Swartwood, at Leonard’s direction, caused
approximately $15,000 to be wired from a bank account of ELF
Investments to a bank account of a company owned and controlled by
Caraway, which is known to the United States Attorney.
All in Violation of 18 U.S.C. § 371.
Count Two
Tax Evasion
[Violation of 26 U.S.C. § 7201]
28. All preceding paragraphs of this lnformation are realleged and incorporated by
reference as if set forth fully herein.
29. Starting in or about January 2014, and continuing through at least 2016, in the
Northern District of Texas and elsewhere, the defendant, Dwaine Caraway, willfully
attempted to evade and defeat the payment of a substantial income tax due and owing by
him to the United States of America, for the tax year 2014, by substantially

underreporting his income and by committing at least the affirmative acts described in

paragraphs 3 and 5 through 8 of this lnformation.

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In violation of 26 U.S.C. § 7201.

 

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